UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re                                                          :
                                                               :    Case No. 23-10678 (PB)
                                                               :
ZHANG MEDICAL P.C. d/b/a                                       :
NEW HOPE FERTILITY CLINIC,                                     :     CHAPTER 11
                                                               :     (Sub-Chapter V)
                                                               :
Debtor.                                                        :
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            INSTRUCTIONS FOR TELEPHONIC SECTION 341 MEETING OF CREDITORS

        In accordance with the Notice of Section 341(a) Meeting of Creditors, the section 341 meeting of

creditors for the above-captioned cases scheduled for June 1, 2023, at 1:00 p.m. (the “Designated Meeting

Time”) will now be conducted by telephone conference.

        All parties shall appear by phone at the section 341 meeting at the Designated Meeting Time in

accordance with the instructions below.

        Call In Information

        On the date and time set forth above, parties shall dial-in to the meeting using the following dialing

instructions:

        Meeting Dial-in No: (877) 727-9367, enter the Participant Code: 1864657 followed by #.

        To avoid confusion or technical difficulties, attendees are instructed to call in at the Designated

Meeting Time, not before that time, and to disconnect the call after their meeting is concluded. Thank you

for you anticipated cooperation in this regard.

Date: May 3, 2023

                                                              William K. Harrington
                                                              United States Trustee for Region 2
                                                              U.S. Department of Justice
                                                              Office of the United States Trustee
                                                              Alexander Hamilton Custom House
                                                              One Bowling Green, Room 534
                                                              New York, New York 10014

                                                     By:       /s/ Brian S. Masumoto________
                                                              Brian S. Masumoto
                                                              Trial Attorney
